            Case 1:20-cv-03020-TOR                  ECF No. 43           filed 06/07/21    PageID.196 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_
                                                     Eastern District of Washington
        GUSTAVO CAMACHO RODRIGUEZ FOR
        THE ESTATE OF GUSTAVO CAMACHO,
                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No.    1:20-CV-3020-TOR
                                                                     )
            STRAND ORCHARD, LLC, ET AL.,                             )

                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
’              Pursuant to Rule 41(a)(1)(A)(ii) and the parties’ stipulation, this action is DISMISSED with prejudice and with each
               party bearing its own costs.



This action was (check one):

’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                                   THOMAS O. RICE                            on the parties' stipulation ECF No. 41.




Date:      June 7, 2021                                                      CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Linda L. Hansen
                                                                                          (By) Deputy Clerk

                                                                             Linda L. Hansen
